 6:12-cv-00760-GRA        Date Filed 08/30/12    Entry Number 35     Page 1 of 9




                   IN THE DISTRICT COURT OF THE UNITED STATES

                       FOR THE DISTRICT OF SOUTH CAROLINA

                                  GREENVILLE DIVISION


Lamont Cutner, #185864,                   )
                                          )     Civil Action No. 6:12-cv-760-GRA-KFM
                          Plaintiff,      )
                                          )      REPORT OF MAGISTRATE JUDGE
          vs.                             )
                                          )
Sgt. Joey Tutt,                           )
                                          )
                          Defendant.      )
                                          )

                This matter is before the court on the defendant’s motion for summary

judgment (doc. 27). The plaintiff, a state prisoner proceeding pro se, seeks relief pursuant

to Title 42, United States Code, Section 1983.

                Pursuant to the provisions of Title 28, United States Code, Section

636(b)(1)(B), and Local Civil Rule 73.02(B)(2)(d) DSC, this magistrate judge is authorized

to review all pretrial matters in cases filed under Title 42, United States Code, Section

1983, and submit findings and recommendations to the District Court.

                The plaintiff is an inmate of the South Carolina Department of Corrections

(“SCDC”) and was housed at SCDC’s McCormick Correctional Institution (“MCI”) in 2011.

The defendant Joey Tutt is a Sergeant and Contraband Officer at MCI. In his complaint,

the plaintiff alleges that Sgt. Tutt punched and kicked him during an incident in July 2011,

thereby violating his right to be free from excessive force as guaranteed by the Eighth

Amendment to the United States Constitution.

                On June 15, 2012, the defendant filed a motion for summary judgment. By

order filed the same date, pursuant to Roseboro v. Garrison, 528 F.2d 309 (4th Cir. 1975),

the plaintiff was advised of the summary judgment dismissal procedure and the possible

consequences if he failed to adequately respond to the motion. The plaintiff filed his
 6:12-cv-00760-GRA        Date Filed 08/30/12     Entry Number 35      Page 2 of 9




response in opposition to the defendant’s motion on July 2, 2012. The defendant filed a

reply on July 12, 2012.

                                   FACTS PRESENTED

              On July 26, 2011, Sgt. Tutt and other officers prepared to search the plaintiff’s

cell in the Special Management Unit of MCI. In his complaint, the plaintiff alleges that he

complied with the officers’ instructions to back up to the door and be handcuffed. The

officers then entered his cell, and Sgt. Tutt allegedly threw the plaintiff on the bed and

punched him in the back three times, then threw him on the floor and kicked him in the

neck. The plaintiff claims he then ran out of the cell to a “rock area” where other officers

put him in leg irons. He was then escorted to the “rec. field area” where he was seen by

a nurse, before being taken to the medical unit. He alleges he was given medication for

neck pain and that x-rays showed that “something was wrong” with his neck (comp. pp. 2-

4).

              Sgt. Tutt describes the July 26th incident much differently and denies

punching or kicking the plaintiff. According to Sgt. Tutt, he ordered the plaintiff and his

cellmate to turn and be handcuffed at the door. The cellmate complied, but the plaintiff

refused, and instead flushed what appeared to be a cell phone down the toilet. After he

finally came to the door and was handcuffed, the plaintiff became belligerent when Sgt. Tutt

entered the cell and attempted to frisk him. The plaintiff was escorted out of the cell and

was maced by another officer after spitting in the officer's face (Tutt aff. ¶¶ 7 - 17). With

his motion for summary judgment, Sgt. Tutt provides MCI’s medical records for the plaintiff

in which the nurse reported that the plaintiff claimed he was “hit in the face” and “kicked in

the chest and side,” but noting no injuries except for a “small, superficial abrasion” on his

lower right leg (doc. 27-4, encounters 588-589). Also provided are findings by a doctor that

the plaintiff’s subsequent x-rays were normal (doc. 27-6).


                                              2
 6:12-cv-00760-GRA          Date Filed 08/30/12        Entry Number 35        Page 3 of 9




               In response to Sgt. Tutt’s motion for summary judgment, the plaintiff filed his

own declaration that altered the facts alleged in his complaint. Instead of being kicked

while in his cell as he initially claimed, the plaintiff declared: “Someone tripped me up as

I was walking toward the stairs. I fell, that’s when Sgt. Tutt started kicking me . . .” (pl. decl.

¶ 5). He also provided a declaration of another inmate, James Darnell Scott, who likewise

declared that the plaintiff was kicked after being removed from the cell (Scott decl. ¶ 5).1

               The plaintiff was charged with and convicted of three violations of SCDC

policy as a result of this incident, including possession of contraband, disobeying officers,

and threatening SCDC employees (doc. 27-3).

                              APPLICABLE LAW AND ANALYSIS

               Federal Rule of Civil Procedure 56 states, as to a party who has moved for

summary judgment: “The court shall grant summary judgment if the movant shows that

there is no genuine dispute as to any material fact and the movant is entitled to judgment

as a matter of law.” Fed.R.Civ.P. 56(a). As to the first of these determinations, a fact is

deemed “material” if proof of its existence or nonexistence would affect the disposition of

the case under the applicable law. Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248

(1986). An issue of material fact is “genuine” if the evidence offered is such that a

reasonable jury might return a verdict for the non-movant. Id. at 257. In determining

whether a genuine issue has been raised, the court must construe all inferences and

ambiguities against the movant and in favor of the non-moving party. United States v.

Diebold, Inc., 369 U.S. 654, 655 (1962).

       1
         Pursuant to 28 U.S.C. § 1746, any matter that can be shown by sworn affidavit may
similarly be shown by unsworn declaration made under penalty of perjury in substantially the
following form: “I declare (or certify, verify, or state) under penalty of perjury that the foregoing is
true and correct. Executed on (date). (Signature).” 28 U.S.C. § 1746. Here, while they were not
notarized, both the plaintiff's and Scott's declarations were made under penalty of perjury. See
Uncle Henry's Inc. v. Plaut Consulting Inc., 240 F.Supp2d 63, 69 (D. Me. 2003) (noting that
affidavits need not be notarized to be cognizable on summary judgment so long as they are made
under penalties of perjury in accordance with 28 U.S.C. § 1746).

                                                   3
 6:12-cv-00760-GRA       Date Filed 08/30/12      Entry Number 35      Page 4 of 9




              The party seeking summary judgment shoulders the initial burden of

demonstrating to the district court that there is no genuine issue of material fact. Celotex

Corp. v. Catrett, 477 U.S. 317, 323 (1986). Once the movant has made this threshold

demonstration, the non-moving party, to survive the motion for summary judgment, may

not rest on the allegations averred in his pleadings; rather, he must demonstrate that

specific, material facts exist that give rise to a genuine issue. Id. at 324. Under this

standard, the existence of a mere scintilla of evidence in support of the plaintiff’s position

is insufficient to withstand the summary judgment motion. Anderson, 477 U.S. at 252.

Likewise, conclusory allegations or denials, without more, are insufficient to preclude the

granting of the summary judgment motion. Ross v. Communications Satellite Corp., 759

F.2d 355, 365 (4th Cir. 1985), overruled on other grounds, 490 U.S. 228 (1989). “Only

disputes over facts that might affect the outcome of the suit under the governing law will

properly preclude the entry of summary judgment. Factual disputes that are irrelevant or

unnecessary will not be counted.” Anderson, 477 U.S. at 248.

Excessive Force

              The Eighth Amendment expressly prohibits the infliction of “cruel and unusual

punishments.” U.S. Const. amend. VIII. To succeed on any Eighth Amendment claim for

cruel and unusual punishment, a prisoner must prove: (1) objectively, the deprivation of

a basic human need was sufficiently serious, and (2) subjectively, the prison officials acted

with a “sufficiently culpable state of mind.” Wilson v. Seiter, 501 U.S. 294, 298-304 (1991);

Williams v. Benjamin, 77 F.3d 756, 761 (4th Cir. 1996). In Hudson v. McMillian, 503 U.S.

1 (1992), the United States Supreme Court held that whether the prison disturbance is a

riot or a lesser disruption, corrections officers are required to balance the need to restore

discipline through the use of force against the risk of injury to inmates. The Court held that

“whenever prison officials stand accused of using excessive physical force in violation of


                                              4
 6:12-cv-00760-GRA        Date Filed 08/30/12      Entry Number 35       Page 5 of 9




the Cruel and Unusual Punishments Clause, the core judicial inquiry is…whether force was

applied in a good-faith effort to maintain or restore discipline, or maliciously and sadistically

to cause harm.” Id. at 6-7.

              The Fourth Circuit Court of Appeals applies the following factors when

analyzing whether a prison official used force in good faith and not maliciously or

sadistically: (1) the need for application of force, (2) the relationship between that need

and the amount of force used, (3) the threat reasonably perceived by the responsible

officials, (4) any efforts made to temper the severity of a forceful response, and (5) the

absence of serious injury. Williams, 77 F.3d at 762 (citing Hudson, 503 U.S. at 7). In

Wilkins v. Gaddy, 130 S.Ct. 1175 (2010), the United States Supreme Court held that the

use of excessive physical force against a prisoner may constitute cruel and unusual

punishment even when the inmate does not suffer serious injury. Id. at 1177-78 (citing

Hudson, 503 U.S. at 4). However, the Court noted that the absence of serious injury may

be one factor to consider in the Eighth Amendment inquiry as it may suggest “‘whether the

use of force could plausibly have been thought necessary in a particular situation’” and may

indicate the amount of force applied. Id. at 1178 (quoting Hudson, 503 U.S. at 7).

              The court finds that the record, taken as a whole, could not lead a rational

trier of fact to find for the plaintiff on his claim of excessive force. In his complaint, the

plaintiff alleges that while in his cell, Sgt. Tutt “punch me in back 3 times plus kick me neck

[sic]” (comp. p. 2, ¶ II.B). However, the plaintiff told the nurse that he was “hit in the face,

kicked in the chest and side” (doc. 27-4, encounter 589). This obvious inconsistency aside,

the medical records show no injury to any of the areas mentioned by the plaintiff in either

account. Those records show that the plaintiff saw a nurse immediately after the incident

and that he had “no apparent injury noted, no bleeding/abrasions/bruising,” except for a

“small, superficial abrasion” on his right leg (doc. 27-4, encounters 588-589). His later


                                               5
 6:12-cv-00760-GRA        Date Filed 08/30/12      Entry Number 35      Page 6 of 9




complaint of neck pain resulted in an x-ray examination, the results of which were also

normal: “Soft tissues are normal. Vertebral bodies demonstrate normal alignment with

normal intervertebral disc spaces also present.          There is no evidence of fracture,

destructive change or congenital abnormality” (doc. 27-6). While the plaintiff contends that

the x-rays revealed “something was wrong,” he fails to demonstrate that contention, and

he certainly has not shown that his purported neck problem is attributable to the defendant.

               Notably, both the plaintiff's and Inmate Scott's declarations alter the facts as

the plaintiff initially alleged them to be in his complaint. In his complaint, the plaintiff

alleged that he was assaulted by the defendant in his cell. He claims the defendant “slung

[him] off the bed to the floor and kick [him] in the back of kneck [sic]. That's when I got up

and ran out of the room . . . ” (comp. p. 3). The plaintiff did not mention being “gassed” in

his complaint (see generally comp.). In their declarations, however, the plaintiff and Scott

allege that the defendant followed the plaintiff out of his cell, caused him to fall, and then

started kicking the plaintiff in view of Inmate Scott, after which another officer sprayed him

with gas (pl. decl. ¶ 5; Scott decl. ¶ 5). See Hughes v. Vanderbilt Univ., 215 F.3d 543, 549

(6th Cir.2000) (citing cases for the proposition that “[p]laintiffs are bound by admissions in

their pleadings, and a party cannot create a factual issue by subsequently filing a conflicting

affidavit”).

               Furthermore, both the plaintiff and Inmate Scott state in their declarations that

the plaintiff was simply using the restroom when the defendant arrived at the plaintiff’s cell

to conduct the search on July 26, 2011 (pl. decl. ¶ 2; Scott decl. ¶ 2). The plaintiff further

states that he was not flushing any contraband items when the defendant arrived at his cell

(pl. decl. ¶ 2). The allegations of using the restroom to explain the flushing toilet were not

made in the plaintiff’s complaint. Further, the disciplinary hearing record of August 22,




                                               6
 6:12-cv-00760-GRA          Date Filed 08/30/12       Entry Number 35        Page 7 of 9




2011, shows that the plaintiff admitted to having a contraband MP3 player when the

defendant arrived to search his cell (doc. 27-3)

               In any event, this court recognizes that while credibility determinations and

the weighing of evidence are matters for the jury and not the court, “there is no issue for

trial unless there is sufficient evidence favoring the nonmoving party for a jury to return a

verdict for that party. If the evidence is merely colorable or is not significantly probative,

summary judgment should be granted.” Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 249-

50 (1986) (citations omitted). Given the plaintiff’s complete lack of evidence to support his

claim, summary judgment is appropriate.

Qualified Immunity

               The defendant further argues that he is entitled to qualified immunity as his

conduct did not violate any clearly established constitutional or statutory rights of which a

reasonable person should have known. This court agrees. Qualified immunity protects

government officials performing discretionary functions from civil damage suits as long as

the conduct in question does not “violate clearly established rights of which a reasonable

person would have known.” Harlow v. Fitzgerald, 457 U.S. 800, 818 (1982). This qualified

immunity is lost if an official violates a constitutional or statutory right of the plaintiff that was

clearly established at the time of the alleged violation so that an objectively reasonable

official in the defendant’s position would have known of it. Id. In addressing qualified

immunity, the United States Supreme Court has held that “a court must first determine

whether the plaintiff has alleged the deprivation of an actual constitutional right at all and,

if so, proceed to determine whether that right was clearly established at the time of the

alleged violation.” Wilson v. Layne, 526 U.S. 603, 609 (1999).




                                                  7
 6:12-cv-00760-GRA        Date Filed 08/30/12      Entry Number 35      Page 8 of 9




              The plaintiff has failed to show that the defendant violated any of his

constitutional or statutory rights. Therefore, Sgt. Tutt is entitled to the protections afforded

by the doctrine of qualified immunity.

                        CONCLUSION AND RECOMMENDATION

              Wherefore, based upon the foregoing, it is recommended that the defendant's

motion for summary judgment (doc. 27) be granted.




                                            Kevin F. McDonald
                                            United States Magistrate Judge

August 30, 2012
Greenville, South Carolina




                                               8
     6:12-cv-00760-GRA        Date Filed 08/30/12    Entry Number 35       Page 9 of 9




         Notice of Right to File Objections to Report and Recommendation

       The parties are advised that they may file specific written objections to this Report
and Recommendation with the District Judge. Objections must specifically identify the
portions of the Report and Recommendation to which objections are made and the basis
for such objections. “[I]n the absence of a timely filed objection, a district court need not
conduct a de novo review, but instead must ‘only satisfy itself that there is no clear error
on the face of the record in order to accept the recommendation.’” Diamond v. Colonial
Life & Acc. Ins. Co., 416 F.3d 310 (4th Cir. 2005) (quoting Fed. R. Civ. P. 72 advisory
committee’s note).

       Specific written objections must be filed within fourteen (14) days of the date of
service of this Report and Recommendation. 28 U.S.C. § 636(b)(1); Fed. R. Civ. P. 72(b);
see Fed. R. Civ. P. 6(a), (d). Filing by mail pursuant to Federal Rule of Civil Procedure 5
may be accomplished by mailing objections to:

                                 Larry W. Propes, Clerk
                               United States District Court
                           300 East Washington St, Room 239
                            Greenville, South Carolina 29601

       Failure to timely file specific written objections to this Report and
Recommendation will result in waiver of the right to appeal from a judgment of the
District Court based upon such Recommendation. 28 U.S.C. § 636(b)(1); Thomas v.
Arn, 474 U.S. 140 (1985); Wright v. Collins, 766 F.2d 841 (4th Cir. 1985); United States
v. Schronce, 727 F.2d 91 (4th Cir. 1984.




                                                9
